Case 8:08-cv-00926-JDW-TGW Document 35 Filed 07/14/09 Page 1 of 11 PageID 459




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAl\1PA DIVISION

 MONIQUE GARAVITO,

                       Plaintiff,

 vs.                                                           Case No. 8:08-CV-926-T-27TGW

 CITY OF TAl\1PA,

           Defendant.
 ----------------'",

                                              ORDER

        BEFORE THE COURT is Defendant's Motion for Summary Judgment (Dkt. 19), to which

 Plaintiff has responded in opposition (Dkt. 32). Upon consideration, Defendant's motion is

 GRANTED.

                                             Background

        In the instant action, Plaintiff Monique Garavito alleges that she was terminated from

 employment as a police officer with Defendant City of Tampa due to her diagnosed epilepsy and that

 Defendant failed to accommodate her condition, in violation of the Americans with Disabilities Act

 (ADA), 42 U~SeCe §§ 12111 et seq., and the Florida Civil Rights Act of 1992 (FCRA), Fla. Stat. §§

 760.01 et seq. The relevant facts follow.

        On February 1, 2006, Plaintiff was accepted into Defendant's Police Scholarship Program,

 which provided tuition for the Police Academy and a monthly stipend. (PI. Dep., Exhs. 1, 4). As

 a scholarship recipient, Plaintiff was required to undergo a physical examination at Tampa

 Occupational Healthservices, which she completed on February 10, 2006. (PI. Dep., Exh. 4; Adan



                                                 1
Case 8:08-cv-00926-JDW-TGW Document 35 Filed 07/14/09 Page 2 of 11 PageID 460




 Dep. at 14). Plaintiff provided the examiner with a letter from her long-time neurologist, Dr. Sergio

 Jacinto, dated February 9, 2006, in which he noted that Plaintiff had a seizure in October 2003, when

 she did not receive medication for two or three days, and had another in August 2002. (PI. Aff. at

 1, Exh. A). Dr. Jacinto also noted that Plaintiff had no side effects from her medication and that her

 last EEG was interpreted as normal. (Id.) The examiner found that Plaintiff was "medically fit to

 perform this specific job without restrictions and can do so without posing a direct threat to the

 health or safety of self or others." (PI. Dep., Exh. 4).

         Plaintiff was also required to pass an examination administered by a medical board

 designated by the Pension Fund for Firefighters and Police Officers of the City ofTampa. (Lang Aff.

 en 4; Lang Dep. at 23). In her Medical History Statement, dated September 11, 2006, Plaintiff

 indicated that she had epilepsy and seizures or convulsions. (PI. Dep., Exh. 5 at 2). The examining

 physician, Dr. Bruce Bohnker, with Comprehensive Occupational Medicine for Business & Industry

 ("COMBI"), told Plaintiff that he would have to do further research and that she should provide a

 letter from her neurologist, which Plaintiff testified she did. (PI. Dep. at 28-29).

         After successfully completing the Police Academy, Plaintiff was sworn in as a police officer

 on or about September 18, 2006. (PI. Dep. at 25,27). She was placed in "holdover," a month of

 training in which new police officers learn agency policy and procedures. (PI. Dep. at 31; Adan Dep.

 at 7-8). However, by letter dated September 25, 2006, Dr. Bohnker concluded:

        Unfortunately, you were noted to have a history of primary generalized seizure
        disorder on medication which does not meet the medical standard for employment
        with the Tampa Police Department. This assessment was reached after review of
        a letter from Dr. Sergio J. Jacinto of 02/09/2006 as well as the EEG results of
        2/16/2004. The Medical Screening Manual for California Law Enforcement (2004
        edition) was reviewed as well. (PI. Aff., Exh. C).



                                                   2
Case 8:08-cv-00926-JDW-TGW Document 35 Filed 07/14/09 Page 3 of 11 PageID 461




 The parties do not dispute that Plaintiff was separated from employment as a result of Dr. Bohnker's

 determination. (Rainsberger Dep. at 17). 1

          Sergeant Anne Marie DeMesa, a personnel and training supervisor, testified that "[w]e tried

 everything we could to convince COMBI to reconsider based on the knowledge we had, but we are

 not doctors so we could only do so much." (DeMesa Dep. at 12). Although DeMesa testified that

 they pursued getting a second opinion, Dr. Bohnker was the only person who performed the

 physicals at COMBI. (DeMesa Dep. at 12-13). Lieutenant Luis Adan, who supervised the Police

 Department's operational unit during Plaintiff's tenure, testified that they asked Dr. Bohnker whether

 accommodations could be made for Plaintiff, but he determined there were none. (Adan Dep. at 23).

          On May 10,2007, the Equal Employment Opportunity Commission issued a finding that

 there was a reason to believe violations of the ADA had occurred based on Plaintiffs termination.

 (Pl. Aff., Exh. E). On May 18, 2007, Defendant's attorney requested Dr. Bohnker reconsider his

 opinion. (Rainsberger Dep. at 6, Exh. 1). Dr. Bohnker issued a more detailed four-page opinion,

 ultimately concluding that Plaintiff's history of seizures and the possible side effects of her anti-

 seizure medication:

          limits her ability to perform the essential functions of a police officer with the Tampa
          Police Department. Accommodation could beconsidered such as limiting high speed
          vehicle operations, avoiding weapon use and minimizing shift changes. However
          these would seem to be essential to police officer functions and difficult to modify
          while maintaining organizational needs. (Rainsberger Dep., Exh. 1 at 4).



          1 Defendant characterizes Plaintiffs separation as a revocation of an offer of employment. (Dkt. 19 at 6).
 Sergeant Anne Marie DeMesa testified that Plaintiff "would have been hired had she had passed that physical."
 (DeMesa Dep. at 14). On the other hand, Plaintiff contends she was terminated, as she had been sworn in and issued
 a uniform and badge. (PI. Aff. at 1; PI. Dep. at 30-31». Lieutenant Luis Adan testified that once employees start the
 "holdover" process, "they're on payroll." (Adan Dep. at 18). He also testified that because Dr. Bohnker would not
 provide medical clearance "we had to let Ms. Garavito go." (Adan Dep. at 21).



                                                           3
Case 8:08-cv-00926-JDW-TGW Document 35 Filed 07/14/09 Page 4 of 11 PageID 462




 Dr. Bohnker reaffirmed his September 25, 2006 opinion that Plaintiff did not meet standards for

 employment with the Tampa Police Department. (Id.)

        Plaintiff disputes Defendant's assessment of her condition. Plaintiff avers that Dr. Bohnker

 made no detailed or individualized inquiry as to how her seizures affected her, instead stating during

 her examination that "no one with a history of epilepsy should be a police officer." (PI. Aff. at 2).

 Specifically, Plaintiff argues that she has never experienced a grand mal seizure, and the few

 "absence seizures" she has had merely cause her to "blank out for a second or two." (PI. Aff. at 1).

 She asserts that Dr. Jacinto's October 3, 2006 report noted that she had been through stressful

 situations during her training and had been tasered, without experiencing a seizure. (PI. Dep., Exh.

 6).   Further, Dr. Jacinto noted that Plaintiff did not have a photoparoxysmal response or

 photosensitive epilepsy, which would cause a seizure in response to sirens or lights. (Id.)

        In the instant motion for summary judgment, Defendant argues that Plaintiff does not have

 a "disability" within the meaning of the ADA, was not qualified to perform the job of police officer,

 and was not denied a reasonable accommodation. In response, Plaintiff maintains that Defendant

 failed to make the requisite individualized inquiry in assessing her disability and regarded her as

 disabled, per se, in violation of the ADA. As set forth, the Court finds that Defendant's motion is

 properly granted, as Plaintiff has not demonstrated that she has a "disability."

                                              Standard

        Summary judgment is proper if following discovery, the pleadings, depositions, answers to

 interrogatories, affidavits and admissions on file show that there is no genuine issue as to any

 material fact and that the moving party is entitled to judgment as a matter of law. Celotex Corp. v.

 Catrett, 477 U.S. 317,322 (1986); Fed. R. Civ. P. 56. "An issue of fact is 'material' if, under the


                                                  4
Case 8:08-cv-00926-JDW-TGW Document 35 Filed 07/14/09 Page 5 of 11 PageID 463




 applicable substantive law, it might affect the outcome of the case." Hickson Corp. v. N. Crossarm

 Co., 357 F.3d 1256,1259-60 (11th Cir. 2004). "An issue of fact is 'genuine' if the record taken as

 a whole could lead a rational trier of fact to find for the nonmoving party." Id. at 1260. All the

 evidence and factual inferences reasonably drawn from the evidence must be viewed in the light

 most favorable to the nonmoving party. Adickes v. S.H. Kress & Co., 398 u.s. 144, 157 (1970);

 Jackson v. BellSouth Telecomms., 372 F.3d 1250,1280 (11th Cir. 2004).

         Once a party properly makes a summary judgment motion by demonstrating the absence of

 a genuine issue ofmaterial fact, whether or not accompanied by affidavits, the nonmoving party must

 go beyond the pleadings through the use of affidavits, depositions, answers to interrogatories and

 admissions on file, and designate specific facts showing that there is a genuine issue for trial.

 Celotex, 477 U.S. at 323-24. Plaintiff's evidence must be significantly probative to support the

 claims. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,249 (1986). The Court will not weigh the

 evidence or make findings of fact. Anderson, 477 U.S. at 249; Morrison v. Amway Corp., 323 F.3d

 920, 924 (11th Cir. 2003). Rather, the Court's role is limited to deciding whether there is sufficient

 evidence upon which a reasonable juror could find for the non-moving party. Id.

                                                   Discussion

         Plaintiffbrings her claims pursuant to the Americans with Disabilities Act (ADA), 42 U.S.C.

 §§ 12111 et seq., and the Florida Civil Rights Act of 1992 (FCRA), Fla. Stat. §§ 760.01 et seq? The

 ADA prohibits discrimination "against a qualified individual with a disability because of the

 disability of such individual in regard to job application procedures, the hiring, advancement, or



         2 Because federal case law interpreting the ADA is applicable to claims arising under the FCRA, Plaintiffs
causes of action are analyzed simultaneously. Reis v. Univ. City Develop. Partners, Ltd., 442 F. Supp. 2d 1238,
1243 (M.D. Fla. 2006) (citing Wimberly v. Sec. Tech. Group, Inc., 866 So.2d 146, 147 (Fla. 4th DCA 2004)).

                                                         5
Case 8:08-cv-00926-JDW-TGW Document 35 Filed 07/14/09 Page 6 of 11 PageID 464




 discharge of employees, employee compensation, job training, and other terms, conditions, and

 privileges of employment." 42 U.S.C. § 12112(a). Discrimination includes "not making reasonable

 accommodations to the known physical or mental limitations of an otherwise qualified individual

 with a disability." 42 U.S.C. § 12112(b)(5)(A). In the instant action, Plaintiff brings both disparate

 treatment and failure to accommodate claims.

 1.      Burdens ofproof

         In the absence of direct or statistical evidence of discrimination, neither of which Plaintiff

 argues, Plaintiff's claims are evaluated based on circumstantial evidence under the traditional

 McDonnell Douglas burden-shifting framework. Wascura v. City ofS. Miami, 257 F.3d 1238, 1242

 (11th Cir. 2001); Durley v. APAC, Inc., 236 F.3d 651,657 (11th Cir. 2000). To establish a prima

 facie case of employment discrimination under the ADA a plaintiff must demonstrate that: (1) she

 has a disability; (2) she is a "qualified individual;" and (3) the defendant unlawfully discriminated

 against her because of the disability. Raytheon Co. v. Hernandez, 540 u.s. 44, 49 n.3 (2003);

 D'Angelo v. ConAgra Foods, Inc., 422 F.3d 1220, 1225-26 (11th Cir. 2005). The burden then shifts

 to the employer to articulate a legitimate non-discriminatory reason for the adverse employment

 action. Raytheon Co., 540 U.S. at 49 n.3. If the employer meets this burden of production, the

 employee may still prove disparate treatment, for instance, by demonstrating the employer's reason

 is pretextual. Id.

         In a claim for failure to make reasonable accommodations, the traditional McDonnell

 Douglas burden-shifting is modified. Fenney v. Dakota, Minn. & E. R. Co., 327 F.3d 707,712 (8th

 Cir.2003). In addition to setting forth the prima facie case, the employee must identify a reasonable

 accommodation that would allow her to perform the job. Terrell v. USAir, 132 F.3d 621, 624 (11th


                                                   6
Case 8:08-cv-00926-JDW-TGW Document 35 Filed 07/14/09 Page 7 of 11 PageID 465




 Cir. 1998). Once the employee has met this burden, the employer may rebut the claim by presenting

 evidence that the requested accommodation imposes an undue hardship on the employer. Id.

 2.       Prima Facie Case

          In the instant motion, Defendant challenges Plaintiff's ability to prove each element of her

 prima facie case. Because the Court finds that Plaintiff has not demonstrated that she has a

 "disability" within the meaning of the ADA under the first element, the remaining elements of her

 prima facie case are not addressed.

          A determination of whether a person is disabled is an individualized inquiry performed on

 a case-by-case basis and "is not necessarily based on the name or diagnosis of the impairment the

 person has, but rather on the effect of that impairment on the life of the individual." Sutton v. United

 Air Lines, Inc., 527 U.S. 471, 483 (1999); 29 CPR pt. 1630, App. 1630.20).3 An individual is

 "disabled" within the meaning of the ADA when she possesses anyone of the following: (1) a

 physical or mental impairment that substantially limits one or more of the major life activities; (2)

 a record of such an impairment; or (3) is regarded as having such an impairment. 42 U.S.C. §

 12102(2). A "major life activity" includes "caring for oneself, performing manual tasks, walking,

 seeing, hearing, speaking, breathing, learning, and working." 29 CPR § 1630.2(1); D'Angelo, 422

 F.3d at 1226-27.

         Defendant first argues that Plaintiff is not disabled under the first prong, as she testified that

 "epilepsy has never interfered with anything in my life" and had never affected any activity in her

 life. (PI. Dep. at 39-40). In response to Defendant's motion, Plaintiff has not identified any major



         3 Although the EEOC's administrative interpretations are not binding, they "do constitute a body of
 experience and informed judgment to which courts and litigants may properly resort for guidance." Meritor Savings
 Bank, FSB v. Vinson, 477 U.S. 57, 65 (1986).

                                                         7
Case 8:08-cv-00926-JDW-TGW Document 35 Filed 07/14/09 Page 8 of 11 PageID 466




 life activity that she contends is limited, nor does she even argue that she falls under the first prong.

 Accordingly, the Court finds that Plaintiff has failed to demonstrate that she has a physical or mental

 impairment that substantially limits a major life activity. See also Sicilia v. United Parcel Serv., Inc.,

 279 F. App'x 936, 938 (11th Cir. 2008) (holding that plaintiff's epilepsy, by his own admission, did

 not substantially limit a major life activity).

          Plaintiff instead argues that she falls under the third prong because Defendant regarded her

 as having a physical impairment that substantially limited her ability to work. A plaintiff may be

 "regarded as" disabled in two ways: "(1) a covered entity mistakenly believes that a person has a

 physical impairment that substantially limits one or more major life activities, or (2) a covered entity

 mistakenly believes that an actual, nonlimiting impairment substantially limits one or more major

 life activities." Sutton., 527 U.S. at 489;4 see also D'Angelo, 422 F.3d at 1228. With respect to the

 major life activity of working, Plaintiff must demonstrate that she is "regarded as precluded from

 more than a particular job." Murphy v. United Parcel Serv., Inc., 527 U.S. 516, 523 (1999).

 Specifically, Plaintiff must demonstrate that she was regarded as unable to perform "either a class

 of jobs or a broad range of jobs in various classes as compared to the average person having

 comparable training, skills and abilities." Carruthers v. BSA Advertising, 357 F.3d 1213, 1216



           4 Sutton v. United Air Lines, Inc. was superseded by the Public Law 110-325, the ADA Amendments Act of
 2008. Given the absence of congressional intent to give the amendments retroactive effect, courts have consistently
 held the amendments are not retroactive. See Fikes v. Wal-Mart, Inc., Case No. 08-12773,2009 WL 961774, at *2
 (11th Cir. Apr. 21, 2009); Milholland v. Sumner County Bd. of Educ., Case No. 08-5568, --- F.3d ---, 2009 WL
 1884376, 3 (6th Cir. July 2, 2009); EEOC v. Agro Distr. LLC, 555 F.3d 462, 469 n.8 (5th Cir. 2009); Kiesewetter v.
 Caterpillar, Inc., 295 F. App'x 850, 851 (7th Cir. 2008). Accordingly, the Court applies the prior version of the
 statute and case law decided thereunder.

          S A "class of jobs" is defined as "[t]he job from which the individual has been disqualified because of an
 impairment, and the number and types of jobs utilizing similar training, knowledge, skills or abilities, within that
 geographical area, from which the individual is also disqualified because of the impairment." Witter v. Delta Air
 Lines, Inc.,138 F.3d 1366, 1370 (11th Cir. 1998) (quoting 29 C.F.R. § 1630.2(j)(3)(ii)(B».

                                                            8
Case 8:08-cv-00926-JDW-TGW Document 35 Filed 07/14/09 Page 9 of 11 PageID 467




 (11th Cir. 2004) (adopting 29 C.F.R. § 1630.20)(3)(1)); Murphy, 527 u.s. at 524-25. (plaintiff must

 demonstrate that he was "regarded as unable to perform a class of jobs utilizing [her] skills").

          Plaintiffhas simply introduced no evidence that Defendant regarded her as unable to perform

 a class of jobs or a broad range of jobs in various classes. Rather, all evidence indicates that

 Defendant regarded Plaintiff only as precluded from the job of police officer." This is insufficient

 to demonstrate that Defendant regarded Plaintiff as substantially limited in the major life activity of

 working. The Eleventh Circuit has expressly held that '''police officer' is too narrow a range ofjobs

 to constitute a 'class of jobs.'" See Rossbach v. City of Miami, 371 F.3d 1354, (11th Cir. 2004)

 (citing Witterv. Delta AirLines, Inc.,138 F.3d 1366, 1370 (llth.Cir. 1998)).7 Significantly, Plaintiff

 identifies no other job she was regarded as precluded from performing.

          In this respect, Plaintiff's authority is readily distinguishable. In McKenzie v. Dovala, the

 Tenth Circuit held that the defendant sheriff's office regarded the plaintiff, a former deputy sheriff,

 as disabled where it attempted to preclude her from working in a class of jobs, including any job in

 the civil, administrative, records, and jail divisions and as a peace officer, such as campus police



          A "broad range of jobs in various classes" is defined as "[t]he job from which the individual has been
 disqualified because of an impairment, and the number and types of other jobs not utilizing similar training,
 knowledge, skills or abilities, within that geographical area, from which the individual is also disqualified because of
 the impairment." Id. (quoting 29 C.F.R. § 1630.2(j)(3)(ii)(C)).

           6 Although Plaintiff argues in her response in opposition that Defendant "likewise precluded her from any
 other police officer position or any class ofjobs comprising law enforcement" (Dkt. 33 at 13, emphasis added),
 Plaintiff cites no record evidence supporting the contention that she was precluded from any job other than the
 position of police officer.

           7 See also, e.g., Arnold v. City ofAppleton, 97 F. Supp. 2d 937, 948-49 (E.D. Wise. 2000) (defendant
 regarded plaintiff only as precluded from performing the job of frrefighter due to epilepsy); Lomastro v. Caddo
 Parrish Sheriff, Case No. civ-05-320, 2006 WL 1805875, at *5 (W.D. La. June 29, 2006) (defendant regarded
 plaintiff only as precluded from performing the job of corrections deputy due to history of seizures); Prince v.
 Jefferson County Police Dep't, Case No. 3:99-cv-161, 2000 WL 33975209, at *2 (W.D. Ky. May 25,2000)
 (defendant regarded plaintiff only as precluded from performing the job of police officer due to her epilepsy).



                                                            9
Case 8:08-cv-00926-JDW-TGW Document 35 Filed 07/14/09 Page 10 of 11 PageID 468




 officer, investigator for hunting and fishing outfitters, livestock inspector, and park ranger.

 McKenzie v. Dovala, 242 F.3d 967, 971-72 (10th Cir. 2001). Plaintiffhas made no similar showing

 here.

          Plaintiff's reliance on Duran v. City of Tampa is also misplaced. In that case, the district

 court held that the plaintiff, a police officer candidate with epilepsy, had demonstrated a substantial

 likelihood of success on his Rehabilitation Act "regarded as" claim because the City of Tampa --

 the same Defendant here -- excluded all individuals with a history of epilepsy from employment as

 a police officer without a medical examination or other process. Duran v. City of Tampa, 430 F.

 Supp. 75,77-78 (M.D. Fla. 1977). As an initial matter, the Court notes that Duran included no

 analysis on the question of whether the plaintiff was regarded as substantially limited in the major

 life activity of working, which, as set forth above, Plaintiff has failed to demonstrate. Id. at 78.

 More significantly, Plaintiff has not demonstrated that Defendant has retained a per se policy of

 exclusion of individuals with epilepsy.

          It is well-established that "the determination of whether an individual has a disability is not

 necessarily based on the name or diagnosis of the impairment the person has, but rather on the effect

 of that impairment on the life of the individual." Sutton, 527 U.S. at 483; 29 CPR pt. 1630, App.§

 1630.2(j). In contrast to Duran, however, Plaintiff was examined by a physician prior to her alleged

 termination. Dr. Bohnker considered Plaintiffs medical records, which revealed her history of

 seizures and medication use." (Pl. Aff., Exhs. A, C). Specifically, Dr. Bohnker was informed that

 Plaintiffhad a seizure less than three years earlier, in October 2003, another in August 2002, and was

 still on medication. During her examination, Dr. Bohnker requested a letter from Plaintiff's


           8 In Duran, the plaintiff had been seizure free since 1959 and off medication since 1966 when he was
 rejected from employment in 1975. Duran, 430 F. Supp. at 76.

                                                          10
Case 8:08-cv-00926-JDW-TGW Document 35 Filed 07/14/09 Page 11 of 11 PageID 469




 neurologist and stated that he needed to do further research. Plaintiff testified that "I know it took

 him a while to make up his decision because 1was going back and forth with him. My neurologist

 was going back and forth with him." (PI. Dep. at 28). Although Plaintiff now avers that Dr.

 Bohnker did not make an "individual assessment" and told her that "no one with a history of epilepsy

 should be a police officer," it is undisputed that he did make the requisite "individualized inquiry"

 into her condition." Sutton, 527 U.S. at 483.

          Plaintiff has identified no other major life activity in which Defendant purportedly regarded

 Plaintiff as substantially limited. 10 Based on the foregoing, Plaintiffhas failed to come forward with

 evidence sufficient to demonstrate that she has a "disability" within the meaning of the ADA and

 FCRA. See Celotex, 477 U.S. at 323-24. Accordingly, Defendant's motion for summary judgment

 is granted on all claims.

                                                     Conclusion

          Based on the foregoing, it is ORDERED AND ADJUDGED that Defendant's Motion for

 Summary Judgment (Dkt. 19) is GRANTED. The Clerk is directed to ENTER judgment in favor

 of Defendant and CLOSE this case.
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          DONE AND ORDERED in chambers this ~day of July, 2009.


                                                        u...,..~.......... S D. WHITTEMORE
                                                              ed States District Judge
 Copies to: Counsel of Record


           9 To the extent Plaintiff argues that Dr. Bohnker violated the protocol in the California Manual for Law
 Enforcement by failing to make an individualized assessment, this argument fails for the reasons stated.
           Although Plaintiff does not argue that Dr. Bohnker's statement that "no one with a history of epilepsy
 should be a police officer" constitutes direct evidence of discrimination, in an abundance of caution, the Court notes
 that the statement would not constitute direct evidence of discrimination. See Merritt v. Dillard Paper Co., 120 F.3d
 1181,1189 (11th Cir. 1997) (direct evidence is "evidence, which if believed, proves existence of fact in issue
 without inference or presumption").

          10 Plaintiffs reliance on Doane v. City of Omaha, 115 F.3d 624, 628 (8th Cir. 1997) is misplaced, as it
 dealt with the major life activity of seeing.

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